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                                               May 14, 2021

Via ECF
The Honorable Eduardo C. Robreno
U.S. District Court - Eastern District of PA
15614 U.S. Courthouse
Philadelphia, PA 19106

       Re:      Solotruk v. Road Scholar Transport
                2:21-cv-00382-ER

Dear Judge Robreno:

      I represent the Plaintiff in the above-referenced matter. Currently before the court is
Defendant’s Motion to Dismiss.

       In response to Defendant’s Motion, Plaintiff filed an Amended Complaint which directly
addresses the points made in Defendant’s motion. Specifically, Plaintiff names the disability he
suffered from, and details how /why he was a qualified individual that could do the job with a
reasonable accommodation. For the court’s convenience, these additions are found in paragraphs
12 through 18 of the Amended Complaint.

     Plaintiff’s position is that while his original Complaint was sufficiently pled, these
Amendments address Defendant’s specific motion, and clearly defeat it.

                                               Respectfully submitted,

                                               /s/ Mark R. Natale
                                               Mark R. Natale, Esquire

Cc:    John Dempsey, Esquire (via ECF)




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